 8:06-cr-00090-JFB-FG3        Doc # 53    Filed: 09/08/06   Page 1 of 1 - Page ID # 110




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )           8:06CR90
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
SCOTT A. BROOKS,                                 )
                                                 )
                     Defendant.                  )




       This matter is before the court on the motion of Wesley S. Dodge, CJA, to withdraw
as counsel for the defendant, Scott A. Brooks [52]. Since retained counsel, Alan G. Stoler,
has entered an appearance for the defendant [51], the motion to withdraw [52] is granted.
Wesley S. Dodge shall be deemed withdrawn as attorney of record and shall forthwith
provide Alan G. Stoler with the discovery materials provided the defendant by the
government and such other materials obtained by Mr. Dodge which are material to the
defendant’s defense.


       IT IS SO ORDERED.
       DATED this 8th day of September, 2006.


                                                 BY THE COURT:


                                                 s/ F.A. Gossett
                                                 United States Magistrate Judge
